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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                  - against -                                          ORDER TO SHOW CAUSE

 JAMAL BROWN,                                                               04-CR-1016 (NGG)

                            Defendant.
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 NICHOLAS G. GARAUFIS, United States District Judge.

         The government is ordered to show cause in writing on or before April 11, 2008 why the

 court should not, pursuant to 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10 (as amended

 effective March 3, 2008), file on May 2, 2008 an amended judgment reducing the defendant’s

 term of imprisonment.

         Javier A. Solano is hereby appointed pursuant to the Criminal Justice Act to represent the

 defendant in this matter. Any response to the government's submission shall be filed on or before

 April 22, 2008. Any reply by the government shall be filed on or before April 28, 2008.

         At the U.S. Sentencing Commission's “Crack Summit” on January 18, 2008, the Bureau

 of Prisons (“BOP”) requested that sentences of time served plus ten days be imposed instead of

 time served, in order to give the BOP time to complete its exit procedures for each inmate. The

 Government is respectfully directed to inform the BOP that the court is considering modifying

 the defendant's sentence to time served. The Government is requested to advise the BOP that the

 court is not inclined to delay the defendant's release in order to facilitate the BOP's exit
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 procedures, and suggests that the BOP perform its exit procedures in advance to the extent that it

 is able to do so.



 SO ORDERED.

 Dated: February 11, 2008                              /s Nicholas G. Garaufis
        Brooklyn, New York                            NICHOLAS G. GARAUFIS
                                                      United States District Judge
